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                                    EXHIBIT 41
     Case: 1:21-cv-06546 Document #: 70-46 Filed: 11/08/22 Page 2 of 3 PageID #:1202




To: King, steve(li ac.com
From: Kaufmann, Martin E[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP (FY DIBOHF23SPDLT)/CN=RECIPIENTS/CN=38526 1 1F68884DEEBBA9E31B1 1B785C1-

MEKAUFMA]

Sent: Thur 10/31/2019 2:08:15 PM Coordinated Universal Time

Subject: RE: [EXTERNALMESSAGE] RE: University ofIllinois Chiefcall-out



 Hi Steve,


 | don’t hear from very many licensees but locally and within the University community it is a common hot button issue. The Campus receives several calls and
 emails each year from consumers who either don’t like the Chief products are sold or don’t believe that what is sold is licensed. | would imagine that our
 local bookstores (who are also allowed to sell Chief gear online but not in their brick and mortar) hear from some customers as well.


 Unfortunately, the Chief issue is a very regular situation that we have to deal with at the University of Illinois and one that is heard about a lot more as you
 get closer to campus.


 Thank you again,


 Marty




             Marty Kaufmann

             Senior Associate
             Athletics Director,
             External Relations
             University ofIllinois
               thletics
             1700 S. Fourth St.|
             Champaign, IL 61820
             Office: 217-244-6532

             Email:
             mekaufma@illinois.edu
             Website:
             FIGHTINGILLINLcom
             UNIFY. DEVELOP.
             INSPIRE. ACHIEVE.


Under the Illinois Freedom of Information Act any written communication to or from
university employees regarding university business is a public record and may be subject
to public disclosure.




 From:King, steve@2c.com>
 Sent: Wednesday, October 30, 2019 5:12 PM
 To: Kaufmann, Martin E <mekaufma@illinois.edu>
 Ce: Weiner, Andrea SE 30.com>
 Subject: Re: [EXTERNAL_MESSAGE] RE: University of Illinois Chief call-out


 Marty,


 Do you get feedback or calls from other licensees regarding negative feedback from customers? Wedo not get a lot of calls, but the ones
 we do get are very passionate about their views. Just wanted to give my team feedback if others get an resistance to this graphic.


 Steve




 From: "Kaufmann, Martin E" <mekaufma@illinois.edu>
 Date: Wednesday, October 30, 2019 at 2:25 PM
 To: "King, Steve" <|
 Ce: "Weiner, Andrea"
 Subject: [EXTERNAL_|                   RE: University of Illinois Chief call-out


 Steve,


 Thank you for reaching out. | don’t recall what language | sent before, but here’s something you can chose to useif it works for you.


 “The University of Illinois allows limited licensees, including Tailgate Clothing, to produce approved items with the trademarked Chief logo for sale. My
 understanding is that this logo is included by the University of Illinois as a part of their College Vault vintage logo licensing program. All items offered for sale
 on our site are officially approved by the Licensing and Trademark Office atIllinois.”


 Please reach out if | can assist with anything else. Thank you for your support of the University of Illinois licensing program.


 Marty




                                                                                                                                                  ILL-VNTG_0012089

                                                                                                                                                    Exhibit 41
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                Marty Kaufmann

                Senior Associate
                Athletics Director,
                External Relations
                University ofIllinois
                  thletics
                1700 S. Fourth St.|
                Champaign, IL 61820
                Office: 217-244-6532

                Email:
                mekaufma@illinois.edu
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  university employees regarding university business is a public record and may be subject
  to public disclosure.




WE
From: King, Steve @.2c.com>
   Sent: Wednesday, October 30, 2019 12:26 PM
   To: Kaufmann, Martin E<mekaufma@illinois.edu>
   Cc: Weiner, Andrea @ae.com>
   Subject: FW: University of Illinois Chief call-out


   Marty,


   In the past you had given me verbiage to use to discuss with customers, but | wanted to see if you have any updates or more
   recent feedback or talking points on Chief Illiniwek. If you could forward to me to be able to give to our customer service department
   that would begreat.


   Thanks,


   Steve



   From:"Ceh,Alexandra"| Tre
   Date: Wednesday, October 30, 2019 at 12:43 PM
   To: "Schwartz, lan"                             >
   Ce: "Schnoll, Emily" <                           » "DeVito, Jacklyn"                 ae.com>, "Nauman, Michael"                            ae.com>, "Fossi, Sabrina"
                AE.com>
   Subject: University ofIllinois Chief call-out


   Hi Team,


   Amanda from customer service reached out with some customer feedback that was received today:


   Open Ended Experience Feedback:
   For the University of Illinois apparel - we have stopped using the logo of the "Chief" which you have on many of your products. It has been banned from the NCAA due to its racist and
   harmful nature. It would be great if you would stop selling products with the Chief on it. | would not buy anything from your store until those products have been taken down. It isa
   harmful image to many students on my campus and across America where Native Americans have become a mere mascot. Unacceptable.


   | know this has been brought up multiple times but | don’t know that we ever reached a resolution or stance on this. Just wanted to share with the greater
   team in case there are any changes we may want to consider moving forward.


   Thanks!


   ALEXANDRA
   CEH

   FREELANCE ASSISTANT MERCHANT
   AEO INC.

   t/+1.212.340.4860   e/ x24860




                                                                                                                                                                      ILL-VNTG_0012090

                                                                                                                                                                       Exhibit 41
